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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re : Chapter 7
JAR 259 FOOD CORP., Case No. 22-40304-jmm
Debtor.
x
SETTLEMENT AGREEMENT

This settlement agreement (the “Settlement Agreement”) is made by and between

Yann Geron (the “Trustee"), as chapter 7 trustee of the bankruptcy estate (the “Debtor's Estate”)

of Jar 259 Food Corp. (the “Debtor”), the above-captioned debtor, and Key Food Stores Co-

Operative, Inc. (‘Key Food"), and between the Trustee and NewBank (together the Trustee, Key

Food and NewBank are referred to as the “Parties”).

RECITALS

A. On February 18, 2022 (the “Petition Date”), the Debtor filed a voluntary petition
for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the
Eastern District of New York (the “Bankruptcy Court”) [DE 1].

B. The Debtor elected to proceed under Subchapter V of Chapter 11. Therefore, no
official committee of unsecured creditors was appointed or established in this case.

C. On February 22, 2022, the United States Trustee filed a Notice Appointing Yann
Geron as the Subchapter V Trustee of the Debtor’s case [DE 3].

D. The Debtor continued to operate its business and manage its property as a debtor in

possession pursuant to 1} U.S.C. §§ 1107(a) and 1108 from the Petition Date until September 29.
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2022 when the Bankruptcy Court entered the Order Granting Motion to Convert Case to Chapter
7 (the “Conversion Order”)! [DE 210].

E. On October 3. 2022, Yann Geron was appointed the Chapter 7 Trustee of the
Debtor's estate [DE 211].

F. Prior to the Petition Date, the Debtor owned and operated a grocery and food retail
store located at 259-11 Union Turnpike, Glen Oaks, New York, under certain agreements with

Key Food, including but not limited to the following (collectively, the “Key Food Agreements”):

« A Membership Agreement dated October 5, 2015:

A Cross-Corporate Guaranty whereby the Debtor guaranteed payment of the
indebtedness of certain affiliates;

e <A Guaranty dated 2020 whith guaranteed the payment of a Promissory Note
between Key Foad and OM Vegetable Inc. in the original principal amount of
$1,560,762.94;

e A Guaranty dated 2019 which guaranteed the payment of a Promissory Note
between Key Food and OM Vegetable Inc. in the original principal amount of
$636,000.12; ‘

An operating agreement dated March |, 2020; and
A Promissory Note dated 2021 in the original principal amount of $863,111.79.

G. Pursuant to the Key Food Agreements, the Debtor agreed to certain obligations,
including, among other things, certain payments for goods and services provided by Key Food.
Under the Key Food Agreements, the Debtor, as a member of the co-operative, was also entitled
to certain patronage payments which Key Food calculated on an annual basis. Key Food has
calculated the patronage payments owed to the Debtor to be $184,483.51 (the “Patronage

Payment”) and asserts an absolute right of recoupment or setoff in connection therewith.

' The Conversion Order yranted the Motion of The LCF Group, Inc. a/k/a Last Chance Funding Group, Inc., seeking
the entry of an Order: (1) pursuant to sections 105(a) and 1112(b) of Title 11 of the United States Code and Rules
1017(f) and 9034 of the Federal Rules of Bankruptcy Procedure, converting the Debtor’s case from a case under
Chapter [| to a case under Chapter 7 of the Bankruptey Code; and (IJ) granting such other and further relief as the
Court deenis just and proper [DE 81).

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H. At the time that the Debtor ceased operations, it had no representative at its
premises. In order to secure the funds on site, Key Food took possession of $22,873 (the
“Removed Assets"). The Debtor, the Bankruptcy Court, the Trustee and all other interested parties
were advised of this and that Key Food had retained control of the Removed Assets while
negotiating a settlement with the Debtor and then with the Trustee.

I. Pursuant to the Key Food Agreements, the Debtor granted Key Food a first priority
security interest in all of the Debtor's assets to secure all indebtedness owed by the Debtor to Key
Food. Key Food perfected the security interest by filing a UCC-1 Financing Statement on October
23, 2015, and a UCC-3 Continuation Statement on August 26. 2020.

J. Prior to the Petition Date, on or about February 15, 2018, NewBank provided the
Debtor with a Small Business Administration loan in the original principal amount of $2,400,000.
In connection with the Loan. the Debtor executed, among other documents, the following loan
dacuments (collectively, the “NewBank Agreements”):

e An SBA Note dated February 15, 2018;
e AnSBA Business Loan Agreement dated February 15.2018, and
e AnSBA Commercial Security Agreement dated February 15, 2018.

K. Under the NewBank Agreements. the Debtor granted NewBank a security interest
in all of the Debtor's assets to secure all indebtedness owed by the Debtor to NewBank. NewBank
perfected the security interest by filing a UCC-1 Financing Statement on February 15, 2018, and
a UCC-3 Continuation Statement on August 19, 2022.

L. Simultaneous with the NewBank loan to the Debtor. Key Food and NewBank
entered into an inter-creditor agreement. dated February 15, 2018 (the “Intercreditor Agreement’).

M. On March 38. 2002, NewBank filed a proof of claim (number 7) asserting a secured

claim against the Debtor’s Estate in the amount of $1,916,667.69 (the “NewBank Secured Claim”).
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N. On May 12, 2022, Key Food filed a proof of claim (number 13) asserting a secured
claim against the Debtor’s Estate in the amount of $5,759,885.62 (the “Key Food Secured Claim’),
which Key Food asserts consists of the following components:

e $1,898,193.03 for unpaid invoices which include charges for goods sold and
delivered, advertising costs, transportation costs, and weekly membership fees;

e $187,274.30 for unpaid invoices to OM Vegetable Inc., an affiliate of the
Debtor; and

® $3,674,418.29 for additional amounts owed to Key Food under the Key Food
Agreements.

0. On or about February 14, 2023, Key Food filed a proof of claim (number 36)
asserting an administrative claim under Section 503(b)(9) of the Bankruptcy Code against the
Debtor's Estate in the amount of $180,789.82 (the “Key Food Administrative Claim”), which
relates to goods sold by Key Food to the Debtor from January 29, 2022, through the Petition Date.
This amount is duplicative of amounts asserted in the Key Food Secured Claim.

P. Under the Key Food Agreements and NewBank Agreements, the Debtor granted
blanket liens on all of its assets to Key Food and NewBank, which included all funds in the
Debtor's Citibank account. Upon the Trustee’s appointment, the Trustee demanded the turnover,
and received funds, from Citibank totaling $240,089.36, plus applicable interest (the “Collateral
Deposit”).

Q. In negotiations, the Trustee objected to certain portions of the Key Food Claim, and
asserted other claims against Key Food on behalf of the Debtor’s estate, including claims under
Section 547 of the Bankruptcy Code.

R, Key Food provided to the Trustee numerous documents, reports, and factual and

legal analyses to refute the Trustee’s allegations.
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S. Asa result of good-faith arms’ length negotiations. the Trustee and Key Food have
agreed to resolve certain claims against each other on the terms and conditions set forth herein, and
the Trustee and New Bank have agreed to stipulate regarding certain issues on the terms and
conditions set forth herein.

NOW, THEREFORE, in consideration of the mutual promises and covenants set forth
herein and other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged. it is stipulated and agreed by and between the Parties as follows.

AGREEMENT

l. Incorporation _of Recitals. The above recitals are incorporated herein in their
entirety.

2. Bankruptcy Court Approval, This Settlement Agreement and its terms are subject
to approval by the Bankruptcy Court. Promptly following execution of this Settlement Agreement,
the Trustee will file a motion seeking an order by the Bankruptcy Court approving the terms of
this Settlement Agreement.

3. Effective Date. This Settlement Agreement shall become fully effective upon entry
of an order by the Bankruptcy Court approving this Settlement Agreement and the expiration of
15 days with no appeal therefrom being filed or upon the expiration of any extended period by
which an appeal must be filed trom such order (the “Effective Date’).

4, Allowed Secured Claim of NewBank. The NewBank Secured Claim is allowed as
a secured claim in the amount of $1.916,667.69. Notwithstanding NewBank's compromises in
favor of the Debtor's Estate under this Settlement Agreement. NewBank reserves all rights and
remedies against all non-debtor persons and entities, including but not limited to Amandeep Singh,

OM Vegetable Inc.. 3350 Kaur Farms, Inc.. 351 VS Kaur Farms Inc.. A&S Vegetables, Inc., Kaur
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Farms, Inc., OM Liquors, Inc., and Kuljit Kaur, and all such persons and entities shall remain liable
for the full amounts, if any. that each owes to NewBunk. NewBank’s compromises in favor of the
Debtor's Estate under this Settlement Agreement do not amend or affect any agreements between
NewBank and any other person or entity, or relieve any such person or entity from any obligation
under each such agreement.

5. Allowed Secured Claim of Key Food. The Key Food Secured Claim is amended

and allowed as a secured claim in the reduced amount of $3,367.062.05. The reduced claim
includes adjustments for the Patronage Payment and the Removed Assets, both of which Key Food
is entitled to retain. Notwithstanding Key Food's compromises in favor of the Debtor's Estate
under this Settlement Agreement, Key Food reserves all rights and remedies against all non-debtor
persons and entities. including but not limited to Amandeep Singh. OM Vegetable Inc.. 3350 Kaur
Farins. Inc., 351 VS Kaur Farms Inc., A&S Vegetables, Inc., Kaur Farms. Inc... OM Liquors. Inc..
and Kuljit Kaur, and all such persons and entities shall remain liable for the full amounts, if any,
that each owes to Key Foad. Key Food’s compromises in favor of the Debtor's Estate under this
Settlement Agreement do not amend or affect any agreements between Key Food and any other
person or entity, or relieve any such person or entity from any obligation under each such
agreement.

6. Allowed Administrative Claim of Key Food. The Key Food Administrative Claim
is allowed as an administrative claim under Section 503(b)(9) of the Bankruptcy Code. Any
payments received by Key Food on account of the Key Food Administrative Claim shall reduce
the amount owed under the Key Food Secured Claim.

7. Distributions from Collateral. All distributions from the collateral and the proceeds

of the collateral pledged to Key Food and NewBank on account of the Key Food Secured Claim,
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the NewBank Secured Claim. and the replacement liens granted herein, as well as distributions on
account af the super priarity administrative claims granted in paragraph 8 below, shal] be tendered
to (a) the escrow agent to be identified in a joint written instruction from counsel for Key Food
and counsel for NewBank, or (b) directly to Key Food and NewBank in the percentages identified
in a written instruction from counsel for Key Food and counsel for NewBank. until the Key Food
Secured Claim, the NewBank Secured Claim, the claims on account of the replacement liens
granted herein, and the super priority administrative claims granted in paragraph 8 below are
satisfied in full. The foregoing direction does not apply to or in any way affect or limit (i) the
distributions that may be made on account of the Key Food Administrative Claim, and (ii) the
distributions that may be made on account of any unsecured claims held by Key Food and
NewBank, and all such distributions shall be made pari passu with all other claims of the same
respeclive priority.

8. Release of Collateral Deposit, Replacement Lien and Carve-Out. The Key Food
Secured Claim and the NewBank Secured Claim are deemed secured by an allowed and duly-
perfected first priority lien against all of the Debtor’s pre-petition assets, including the Collateral
Deposit, and other assets or proceeds solely to the extent they are directly traceable to Key Food's
and/or NewBank’s collateral, including but limited to claims held by the Trustee or the Debtor's
Estate arising under Sections 105, 362, 541, 542 and 549 of the Bankruptcy Code. Key Food and
NewBank agree to carve oul of their allowed secured claims an amount equal to the Collateral
Deposit. and authorize the Trustee to use the Collateral Deposit 10 pay expenses of the Debtor's
Estate if, as and when approved by the Bankruptcy Court. In exchange for the Trustee's use of the
Collateral Deposit, Key Faod and NewBank will receive duly perfected-first-priority replacement

liens in the amount of the Collateral Deposit up to the amount used by the Trustee, against any
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funds collected by the Trustee on account of any claims brought under Sections 105, 362, 541.
542, 544, $47. 548, and 549 of the Bankruptcy Code. In addition, and as further protection, Key
Food and New Bank are granted super priority administrative claims under Section 503(b)(!) of
the Bankruptcy Code in the amount of the Collateral Deposit up to the amount used by the Trustee,
which shall be superior to claims under Section 503 and 507 of the Bankruptcy Code, but
subordinate to all allowed administrative fees and expenses of the Trustee and his professionals.
The rights granted to Key Food and NewBank under this paragraph are in addition to Key Food’s
rights in connection with the Key Food Secured Claim and the Key Food Administrative Claim
and NewBank’s rights in connection with the NewBank Secured Claim.

9. No Further Use of Cash Collateral. Except as expressly authorized herein, the

Trustee is prohibited from using and shall not scck authorization to use Key Food’s and
NewBank’s cash collateral for any purpose.

10. Release by the Trustee and the Debtor's Estate of Key Food. Upon the Effective
Date, the Trustee, on behalf of the Debtor and the Debtor’s Estate (collectively, the “Trustce
Releasors”) waive, release and forever discharge Key Food, and each of its respective affiliates,
subsidiaries, officers, directors. employees, agents, attorneys, servants, heirs. executors, members,
administrators. successors, and assigns (collectively, the “Key Food Releasees”) from any and all
claims, debts. demands, damages and causes of action whatsoever that either of the Trustee
Releasors may hold or otherwise could assert against the Key Food Releasees whether known or
unknown, foreseen or unforeseen. matured or unmatured. fixed or contingent, suspected or
unsuspected, and which include, but expressly are not limited to. the allegations and claims
asserted in any contested matter or adversary proceeding filed in or in connection with the Debtor's

bankruptcy case, and all claims arising under any provision of chapter 5 of the Bankruptcy Code.
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The waivers and releases provided herein do not apply to any of Key Food’s obligations under the
terms of this Settlement Agreement and claims for breach of this Settlement Agreement.

11, Release by the Trustee and the Debtor's Estate of NewBank. Upon the Effective

Date, ihe Trustee on behalf of the Debtor and the bankruptcy estate (callectively, the “[rustee
Releasors”). do hereby release. remise, and forever discharge NewBank and each of its respective
affiliates, subsidiaries, officers. directors, employees, agents, attorneys, servants. heirs, executors.
members. administrators, successors, and assigns (collectively. the “NewBank Releasees”), fram
and against any and al] past or present causes of action, suits. debts, dues, sums of money,
attorneys’ fees, contracts, licenses, leases, claims, injuries, torts. breaches of duty, estimates.
invoices. reckonings, bonds. bills. specialties. covenants, controversies, agreements, promises.
variances, representations. trespasses. tenancies. holdovers. damages, judgments, extents,
executions, or any other claims and demands whatsoever, in law. admiralty or equity, which the
Trustee Releasors have, or may have, regardless of whether such claims are known or unknown,
fixed or contingent or by reason of any matter, cause or thing whatsoever from the beginning of
the world to the day of the date of this Release, against the NewBank Reicasves. including, without
limitation, any allegations and claims asserted in any contested matter or adversary proceeding
filed or in connection with the Debtor’s bankruptcy case, and all claims arising under any provision
of chapter 5 of the Bankruptcy Code or comparable state statues; provided, however, this Release
does not apply to any of the NewBank’s obligations under the terms of this Settlement Agreement
and claims for breach of this Settlement Agreement.
12. Release by Key Food of the Trustee and the Deblor’s Estate. Upon the Effective

Date, Key Food on its own behalf. and on behalf of its past and present respective affiliates,

subsidiaries, officers, directors, employees. agents, attorneys, servants. heirs, executors, members,
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administrators. successors, and assigns of any of the preceding (collectively, the “Key Food
Releasors’’), do hereby release, remise, and forever discharge the Trustee, the Debtor, the Debtar’s
bankruptcy estate, and each of the Trustee’s employees, agents, professionals, and attorneys
(collectively, the “Trustee Releasees”), from and against any and all past causes of action, suits,
debts, dues. sums of money, attorneys’ fees, contracts, licenses, leases, claims, injuries, torts,
breaches of duty, estimates, invoices. reckonings, bonds, bills. specialties. covenants,
controversies, agreements, promises, variances, representations, trespasses, tenancies. holdovers,
damages, judgments, extents. executions. or any other claims and demands whatsoever, in law,
admiralty or equity, which the Key Food Relcasors can, shall or may have against the Trustec
Releasees {rom the beginning of the world to the Effective Date of this Settlement Agreement,
regardless of whether such claims are known or unknown, fixed or contingent or by reason of any
matter, cause or thing whatsoever against the Trustee Releasees; provided, however, this Release
does not apply to any of the Trustee’s obligations under the terms of this Settlement Agreement
and claims for breach of this Settlement Agreement or in any way affect the rights and obligations
in connection the Key Food Secured Claim or the Key Food Administrative Claim or any other
right granted ta Key Food. Notwithstanding the foregoing. Key Food reserves all rights and
remedies against all non-debtor persons and entities, including but not limited to Amandeep Singh,
OM Vegetable Inc., 3350 Kaur Farms. Inc.. 351 VS Kaur Farms Inc.. A&S Vegetables. Inc., Kaur
Farms. Inc., OM Liquors, Inc.. and Kuljit Kaur, and all such persons and entities shal! remain liable
for the full amounts, ifany, that each owes to Key Food. Key Food’s compromises in favor of the
Debtor under this Settlement Agreement do not amend or affect any agreements between Key
Food and any such person or enlity, or relieve any such person or entity from any obligation under

each such agrcement or under applicable Jaw.

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13. Release by NewBank of the Trustee and the Debtor's Estate. Upon the Effective
Date, NewBank on its own behalf, and on behalf of its past and present respective affiliates,
subsidiaries, officers, directors, employees, agents, attorneys. servants, heirs, executors, members.
administrators, successors, and assigns of any of the preceding (collectively, the “NewBank
Releasors”). do hereby release, remise, and forever discharge the Trustee Releasees. from and
against any and all past causes of action, suits, debts, dues, sums of money. attorneys’ fees,
contracts, licenses, leases, claims, injuries, torts, breaches of duty, estimates, invoices, reckonings,
bonds, bills, specialties, covenants, controversies, agreements, promises, variances,
representations. trespasses. tenancies, holdovers, damages, judgments, extents, executions, or any
other claims and demands whatsoever, in law, admiralty or equity. which the NewBank Releasors
can, shall or may have against the Trustee Releasees from the beginning of the world to the
Effective Date of this Settlement Agreement, regardless of whether such claims are known or
unknown, fixed or contingent or by reason of any matter. cause or thing whatsoever against the
Trustee Releasees: provided, however, this Release does not apply to any of the Trustce’s
obligations under the terms of this Setdement Agreement and claims for breach of this Settlement
Agreement or in any way affect the rights and obligations in connection the NewBank Secured
Claim or any other right granted to NewBank. Notwithstanding the foregoing, NewBank reserves
all rights and remedies against all non-debtor persons and entities, including but not limited to
Amandeep Singh, OM Vegetable Inc., 3350 Kaur Farms, Inc.. 351 VS Kaur Farms Inc.. A&S
Vegetables, Inc., Kaur Farms, Inc.. OM Liquors, Inc., and Kuljit Kaur, and all such persons and
entities shall remain liable for the full amounts, if any, that each owes to NewBank. NewBank’s

compromises in favor of the Debtor under this Settlement Agreement do not amend or affect any

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agreements between NewBank and any such person or entity. or relieve any such person or entity

from any obligation under each such agreement or under applicable law.

14. Key Food and NewBank Reservations. Although Key Food and NewBank are

signatories to this Settlement Agreement. this Settlement Agreement is not intended to resolve any
claims. rights or obligations of cither vis-a-vis the other, including but not fimited to the
Intercreditor Agreement. and all such claims, rights and obligations remain in their entirety.

15. Entire Apreement/No Oral Modification. This Settlement Agreement constitutes
the entire agreement between the Trustee and Key Food, on the one hand, and the Trustee and
NewBank, on the other hand, with respect to its subject matter and supersedes all prior agreements
and undertakings between the Parties relating to the subject matter hereof. There are no other
covenants, promises. agreements, conditions or understandings, either aral or written, express or
implied, between the Parties, except for this Settlement Agreement with respect to its subject
maiter. The terms of this Settlement Agreement are contractual and not merely recitals. This
Setilement Agreement may not be modified. amended, altered, changed or waived, except in
writing and duly executed by all Parties (or solely by the Trustee and either Key Food or NewBank,
as the case may be) and, to the extent necessary, upon Bankruptcy Court approval.

16. No _Admission of Liability: This Settlement Agreement is the result of a
compromised settlement of disputed claims and defenses and is not and shall not be construed as
an admission or concession of responsibility, liability or any wrongdoing on the part of any Party.

17. Representation by the Parties. The Parties acknowledge that they are entering into
this Settlement Agreement knowingly and voluntarily and that the consideration received by each
of them is fair and adequate. The Parties represent and acknowledge that they have conferred with

and are represented by or have been given the opportunity to confer with or be represented by.

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independent Jegal counsel of their choice with respect to this Settlement Agreement and all matters
covered by or related to its subject matter. The Parties declare that they fully understand all of the
terms and provisions of this Settlement Agreement and regard the same to be fair and reasonable.

18. Authority of Sipnatories. The Parties hereby warrant and represent that the
individuals signing this Settlement Agreement on their behalf are duly authorized. have the
requisite authority. and have taken all actions necessary, to execute and deliver this Settlement
Agreement on behalf of the respective Party.

19. Successors and Assivns/Binding Effect. All rights of each Party hereunder shall
inure to the benefit of their respective successors and assigns, and all obligations of each Party
hereunder shall bind the successors. assigns, heirs, administrators, executors and legal
representatives and estate of each Party. For the avoidance of any doubt, in the event the appeal of
the Conversion Order is granted, this Settlement Agreement shall be binding upon the chapter 11
Debtor, any chapter 11 trustee, plan administrator, liquidating trustee, any designated
representative of any trust established for the benefit of the Debtor’s creditors, and any other
fiduciary appointed or serving in the Debtor's bankruptcy case.

20.  Non-Reliance_ and Construction. The Parties have decided to execute this
Settlement Agreement based on information developed independently and not in reliance on
representations of any other Party, The Parties agree that each of them has had a full opportunity
to participate in the drafting of this Settlement Agreement and. accordingly, any claimed ambiguity
shall be construed neither for nor against any Party.

21. No Waiver. No failure or delay by either Party in exercising any right. power. or
privilege under this Settlement Agreement or applicable law shall operate as a waiver by that Party

of any such right. power or privilege.
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22. Severability. The invalidity, illegality. or unenforceability of any provision of this

Settlement Agreement shall not affect any other provision of this Settlement Agreement. which
Settlement Agreement shall remain in full force and effect and shall be construed as if such invalid,
illegal, or unenforceable provision had never been contained herein.

23. Counterparts. This Settlement Agreement may be executed in one or more
counterparts, each of which shall constitute an original, and all of which shall constitute a single
and identical agreement. It shall not be necessary, in making proof of this Settlement Agreement,
to produce or account for more than one complete set of counterparts. Any signature delivered by
a party via e-mail or telecopier transmission shall be deemed an original signature hereto.

24. = Jurisdiction_and_ Governing Law. THE PARTIES AGREE THAT THE
BANKRUPTCY COURT SHALL HAVE EXCLUSIVE JURISDICTION OVER ANY
DISPUTES REGARDING THE INTERPRETATION OR ENFORCEMENT OF THE
TERMS OF THIS SETTLEMENT AGREEMENT. THIS SETTLEMENT AGREEMENT
SHALL BE INTERPRETED UNDER THE SUBSTANTIVE LAW OF THE STATE OF
NEW YORK, WITHOUT REGARD FOR THAT STATE’S CHOICE OF LAW OR

CONFLICTS OF LAW PROVISIONS.

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Dated: Carle Place. New York Dated: New York. New York
October 12 2023 October W_, 2023
BODNER LAW PLLC GERON LEGAL ADVISORS, LLC

Attorneys for Key Food Stores Co-Operative, Attorneys for Yann Geran, Chapter 7 Trust
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ny ee By:

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Dated: New York, New York
October /@ 2023

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